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      kobomfo/t -^qS3uJ?.^

         .Siy^ i_j!"X-- tiLOd^t^ (^^.-Jtxilci—
      ig^OdVi _J^pjr                                                                                  —
  Luco cjLKDrs^~oA^                        mtic^<J——Aotfta^^JX—
 (C/Sei^                 C-S ((rsOto^~OJr>o!^—                                       -j!\j£OF^.
 |
 ;                                    ■ ■      «
  ^                       otyv-_^g(5A^Crva          -CJL 2c#^            Qjuctvi-       cCk
 jjyvoctev^          OAd-J&OtCtoa/' OAA—                  JCL-iqciC/^fco




             ^!rVN<i5.                     kst 8i!!lSti«ptiL^_^L LuS ^CStydA/^ea^d—jb*se 0p^Oi/^!«jMJUtai^<<r
      tl?^^!: TX hoifd Ar«l_olixja!iofce4*^^                                t%ij^                     A£olu<«;^U<^
                                             ve dACi<ij^_b>-               IJi^-Vi^^
      -fiCrfl?*ULM                           ^     i                   ^Lt- KW <>                     SKnr^/yi
                     ^4«_Vr^ir^xtiLJC2!l

              2/:> y^OLfS,                                    _ Jp<in
—),                                               0^_iei.«/cos<5fly-_fe. L'j^JsLfe.

  !              Ac^._gMi^hi^ ie> .y/sljl-jCjB!)o«J^ Boom fajo ^)a4fl4——
                 -C2 Ai9^ Ck^UiA/^ 97»n CAyny^                       > fe3_4oC_.i3JeJCc_i5?.
 |iJitf«^i^U-V^_i?*^_jsriu-t^ rtL^ffjlf^f                                   (^th^ ^aj^o/TK^
                                                                         Kv^_iC:C^*jr£fcl:
  CUiw^ A br^ fl&6^ aCr SincAy\ly^ !LX_c»^L_Qafne^^
[         ^          —SjQij QJXxsfcS) f-^cJ hfuA hjdpsjl-^^iMJ^
 1! _?1 mivmba uAt^_                                                3ub(tctc-Q
      X^--C:iAfiraM*i_„Qa_Moac»<- .OY\_itiA^                                        feguty
      _V:tf^ ^:bkik4 lO^AAiv^ bgujCNaU C^aJ^ Ots^A kjoL—C4MS^-
                                                                                    _OUOk/^<?-J®»!l

                         tocL CAJ^k^ .teiCii: C,^ CoA.SL<iA>^ OA^r^rti^                         Ctyit^A-
         .6J> X eua>f ^jCjfooeufea—SgQ-g^—                                 featf- Pg/^caiL^ r
         kie.—                                            fa> te«          &t^g-
         'Sow ..gscA FtafTtfgTt- Cto^t'w^ .
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